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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                Eastern Division

Vanessa Popp
                                                   Plaintiff,
v.                                                              Case No.: 1:16−cv−04331
                                                                Honorable John J. Tharp Jr.
VHS West Suburban Medical Center, Inc., et al.
                                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, April 26, 2016:


       MINUTE entry before the Honorable John J. Tharp, Jr:Motion hearing held.
Without objection, the United States' Motion to Dismiss [4] is granted without prejudice.
Remaining parties are to exchange Rule 26(a)(1) disclosures by 5/17/16. Discovery may
proceed immediately. Status hearing set for 7/14/16 at 9:00 a.m. Mailed notice(air, )




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